Case 2:19-cv-11894-BWA-DMD Document1-6 Filed 07/26/19 Page 1 of 7

ATTORNEY'S NAME:
AND ADDRESS:

Wasielewski, Jonathan D 32755

1750 St. Charles, Suite CU-1 , New Orleans, LA 70130
CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
DIVISION: G
DESVINGE, DEMICKA ET AL

NO: 2019-05756 SECTION: 11

Versus
DOE, JOHN ET AL
CITATION - OUT OF COUNTRY
TO: FLASH FREIGHT SYSTEMS
THROUGH: A REQUEST TO BE MADE BY PLAINTIFFS’ COUNSEL UNDER THE HAGUE SERVICE CONVENTION TO

ATTORNEY GENERAL OF ONTARIO, MINISTRY OF THE ATTORNEY GENERAL OF ONTARIO, OR
MINISTER OF JUSTICE OF ONTARIO WITH FORM USM -— 94 REQUESTING THAT SERVICE BE MADE BY
AND ENFORCEMENT OFFICER OF THE MINISTRY OF THE ATTORNEY GENERAL OF ONTARIO UPON
FLASH FREIGHT SYSTEMS

5894 EIGHTH LINE, ARISS, ON NOB 1B0, CANADA
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETITION FOR DAMAGES
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within sixty (60)
days after service has been made on an out of country defendant pursuant to the "Hague Convention" under

penalty of default.
ADDITIONAL INFORMATION
Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
eRRREREE COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE®**4*3**
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the Parish of Orleans,
State of LA May 31, 2019

Clerk's Office, Room 402, Civil Courts CHELSEY RICHARD NAPGLEON, Clerk
421 Loyola Avenue of
New Orleans, LA The Civil District Court for the

Parish of Orleans, State of LA

by Want OF onta =
Tracy Lafonta, Deputy Clerk

 

 

SHERIFF'S RETURN
(for use of process servers only)
DOMICILIARY SERVICE
day of

PERSONAL SERVICE
On this
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PETITION FOR DAMAGES

ON FLASH FREIGHT SYSTEMS

THROUGH: A REQUEST TO BE MADE BY PLAINTIFFS’ COUNSEL

UNDER THE HAGUE SERVICE CONVENTION TO ATTORNEY
GENERAL OF ONTARIO, MINISTRY OF THE ATTORNEY GENERAL

On this
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PETITION FOR DAMAGES

ON FLASH FREIGHT SYSTEMS

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GENERAL OF ONTARIO, MINISTRY OF THE ATTORNEY GENERAL
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USM — 94 REQUESTING THAT SERVICE BE MADE BY AND
ENFORCEMENT OFFICER OF THE MINISTRY OF THE ATTORNEY
GENERAL OF ONTARIO UPON FLASH FREIGHT SYSTEMS

Returned the same day

 

 

 

 

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Deputy Sheriff of
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ENTERED /
PAPER RETURN
/ /
SERIAL NO, DEPUTY PARISH

ID: 10215618

 

OF ONTARIO, OR MINISTER OF JUSTICE OF ONTARIO WITH FORM
USM — 94 REQUESTING THAT SERVICE BE MADE BY AND
ENFORCEMENT OFFICER OF THE MINISTRY OF THE ATTORNEY
GENERAL OF ONTARIO UPON FLASH FREIGHT SYSTEMS
by leaving same at the dwelling house, or usual place of abode, in the hands of
_ _ : _ aperson of suitable age and
discretion residing therein as a member of the domiciliary establishment, whose
name and other facts connected with this service I learned by interrogating
HIM/HER the said FLASH FREIGHT SYSTEMS being absent from the
domicile at time of said service.

Returned the same day

No.

 

Deputy Sheriff of

 

Page 1 of 1
Case 2:19-cv-11894-BWA-DMD Document1-6 Filed 07/26/19 Page 2 of 7

ATTORNEY'S NAME: Wasielewski, Jonathan D 32755
AND ADDRESS: 1750 St. Charles, Suite CU-1 , New Orleans, LA 70130

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA

 

NO: 2019-05756 DIVISION: G SECTION: 11

DESVINGE, DEMICKA ET AL
Versus
DOE, JOHN ET AL

CITATION - OUT OF COUNTRY
TO: FLASH FREIGHT SYSTEMS

THROUGH: A REQUEST TO BE MADE BY PLAINTIFFS’ COUNSEL UNDER THE HAGUE SERVICE CONVENTION TO
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Parishyof Orleanss State of LA
by aula ul GOTO itd
Traef Lafonta, Deputy Clerk

 

SHERIFF'S RETURN
(for use of process servers only)

 

 

PERSONAL SERVICE DOMICILIARY SERVICE
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GENERAL OF ONTARIO UPON FLASH FREIGHT SYSTEMS GENERAL OF ONTARIO UPON FLASH FREIGHT SYSTEMS

Returned the same day by leaving same at the dwelling house, or usual place of abode, in the hands of

No a _ ; _ ___ aperson of suitable age and
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Deputy Sheriff of

 

 

 

ID: 10215618 Page | of |
Case 2:19-cv-11894-BWA-DMD Document1-6 Filed 07/26/19 Page 3 of 7

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA

NO.: ( q -5 15 DIVISION * ” ‘ G - I]

DEMICKA DESVIGNE, MALIK BURTON, JUSTIVE DESVIGNE, AND MITCHELL
BURTON

VERSUS

JOHN DOE, FLASH FREIGHT SYSTEMS, OLD REPUBLIC INSURANCE COMPANY,
and STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

FILED:

 

 

DEPUTY CLERK
PETITION FOR DAMAGES

Now into Court through undersigned counsel comes Plaintiffs, DEMICKA DESVIGNE,
MALIK BURTON, JUSTIVE DESVIGNE, persons of the full age of majority, and a resident of
the Parish of Orleans, State of Louisiana, AND MITCHELL BURTON, a person of the full age
of majority, and a resident of the Parish of East Baton Rouge, State of Louisiana, who state as
follows:

i,

Defendant, JOHN DOE, upon information and belief is a person of the full age of
majority and a resident of the province of Ontario and country of Canada, and at all times
pertinent hereto was the driver of a semi-tractor trailer vehicle carrying a Wabash National
Freight Pro Trailer bearing Ontario, Canada issued License Plate E54-82L, which was at all
times pertinent hereto registered to Benlea Leasting Ltd. and being used in the course and scope
and furtherance of business interests of Flash Freight Systems, which is insured by the
Defendant, OLD REPUBLIC INSURANCE COMPANY; and at all times pertinent hereto
Defendant, JOHN DOE, was acting within the course and scope of his employment or as an
agent of Defendant, FLASH FREIGHT SYSTEMS.

2s

Defendant, OLD REPUBLIC INSURANCE COMPANY, is a foreign corporation
authorized to do and doing business in the Parish of Orleans and State of Louisiana and at all
times pertinent hereto had in full force and effect a policy of liability insurance covering
Defendants, JOHN DOE and FLASH FREIGHT SYSTEMS, for the risks hereinafter alleged
involving the trailer bearing Ontario license plate, E54-821, and being transported by semi-

tractor trailer operated by JOHN DOE as part of his employment or in service of FLASH
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FREIGHT SYSTEMS.
2

Defendant, FLASH FREIGHT SYSTEMS, is a foreign (Canadian) corporation doing
business in the Parish of Orleans and State of Louisiana and at all times pertinent hereto was the
employer and/or principal to agent/employee, JOHN DOE, and is responsible for the actions of
its employee/agent under the legal doctrine of respondeat superior.

4,

Defendant, State Farm Mutual Automobile Insurance Company, a foreign corporation
authorized to do and doing business in the Parish of Orleans and State of Louisiana and at all
times pertinent hereto had in full force and effect a policy of insurance including uninsured
motorist coverage to Demicka Desvigne and/or the Infiniti motor vehicle and her guest
passengers made co-plaintiffs herein at all times pertinent to the collision described herein.

5.

The incident hereinafter referred to occurred in the Parish of Orleans, State of Louisiana,

within the territorial jurisdiction of this Honorable Court.
6.

On or about May 30, 2018, Petitioner was operating her vehicle in the right hand lane of
Interstate 10 eastbound near the Read Boulevard exit when suddenly and without warning
Defendant, John Doe, attempted to merge from the middle lane into the right lane causing the
trailer he was transporting bearing Ontario license plate E54-821 to strike the front driver’s side
of Petitioners’ vehicle and thereby causing the injuries hereinafter more fully described.

7.
The foregoing incident was caused directly and proximately by the negligence of the

defendant, JOHN DOE, particularly, but not exclusively, in the following respects, to-wit:

A. Driving in a reckless and careless manner without regard for the safety of others;
B. Failure to see what he should have seen;

Ce Failure to keep a proper look out;

D. Failure to take evasive action to avoid causing the accident;

BR, Failure to yield;

F. Improper lane usage;

G. Improper and unsafe lane change;
Case 2:19-cv-11894-BWA-DMD Document1-6 Filed 07/26/19 Page 5 of 7

H. Failure to maintain adequate and proper control of his vehicle; and
6 Any and all other acts of negligence that may be proven at the time of trial of this
matter.
8.

Alternatively, the incident was caused directly and proximately by the negligence of an
unidentified and therefore presumed to be uninsured motorist, particularly, but not exclusively,

in the following respects, to-wit:

A. Driving in a reckless and careless manner without regard for the safety of others;
B. Failure to see what she should have seen;

4 Failure to keep a proper look out;

D. Failure to take evasive action to avoid causing the accident;

E. Failure to yield;

F, Improper lane usage;

G. Improper and unsafe lane change;

H. Failure to maintain adequate and proper control of her vehicle; and

i, Any and all other acts of negligence that may be proven at the time of trial of this

matter.
o
As aresult of the negligence of defendant, JOHN DOE, Petitioners were caused to suffer
severe and grievous injury to body and mind.
10.
Petitioners entitled to recover damages from JOHN DOE, FLASH FREIGHT SYSTEMS,
and OLD REPUBLIC INSURANCE COMPANY for the injuries they sustained at the hands of

the Defendant, John Doe, including to, but not limited to:

A. Past, present and future medical expenses;
B. Past, present and future mental and physical pain and suffering;
C, Residual disability;

11.

Alternatively, if Petitioners were caused to suffer severe and grievous injuries to body
and mind due to the negligence of an unknown, and therefore presumably uninsured, then

Petitioners are entitled to recover damages from State Farm Mutual Automobile Insurance
Case 2:19-cv-11894-BWA-DMD Document1-6 Filed 07/26/19 Page 6 of 7

Company under the terms of uninsured motorist coverage for the injuries they sustained at the

hands of an unknown driver, including to, but not limited to:

A. Past, present and future medical expenses;
B. Past, present and future mental and physical pain and suffering;
C. Residual disability;

WHEREFORE, Petitioners pray that Defendants be served with this Petition as requested below
and cited to appear and answer the same and that after due proceedings are had there be
judgment herein in favor of Petitioners, DEMICKA DESVIGNE, MALIK BURTON, JUSTIVE
DESVIGNE, and MITCHELL BURTON, and against the Defendants, JOHN DOE, FLASH
FREIGHT SYSTEMS, and OLD REPUBLIC INSURANCE COMPANY, jointly and in solido,
in a sum to be determined by this Honorable Court together with legal interest thereon from the
date of judicial demand until paid and for all costs of these proceedings, or alternatively in favor
of Petitioners, DEMICKA DESVIGNE, MALIK BURTON, JUSTIVE DESVIGNE, and
MITCHELL BURTON, and against the Defendant, State Farm Mutual Automobile Insurance
Company, in a sum to be determined by this Honorable Court together with legal interest thereon
from the date of judicial demand until paid for the damages done to Petitioners by an uninsured
motorist, and for all costs of these proceedings. Petitioners further pray for all general and
equitable relief.

Respectfully submitted,

  
  

’ LYS )
IM L. FIELDS (Bar #: 24794)
Jonathan D Wasielewski (Bar # 32755)
Attorneys for Plaintiffs

1750 St. Charles Avenue, Suite CU1
New Orleans, Louisiana 70130

(504) 864-0111 Fax (504) 864-0111

 
 

PLEASE SERVE
JOHN DOE,
Hold Service until properly identified

AND

Old Republic Insurance Company

Through The Louisiana Secretary of State

8585 Archives Ave

Baton Rouge LA 70809

A YRUE COPY

AND [service requests continued on the next page]

   

K CIVIL DISTRICT COUR
SH OF ORLEANS
STATE OF LA
Case 2:19-cv-11894-BWA-DMD Document 1-6 Filed 07/26/19 Page 7 of 7

Flash Freight Systems

Under Article 10 of Hague Convention of 15 November 1965 on Service Abroad of Judicial and
Extrajudicial Documents in Civil or Commercial Matters, (the Hague Service Convention)

Via certified delivery and Via the Louisiana Longarm Statute

Attn: President

Flash Freight Systems

5894 Eighth Line

Ariss, ON NOB 1B0 Canada

AND

Flash Freight Systems

Via a request to be made by Plaintiffs’ counsel under The Hague Service Convention

to Attorney General of Ontario, Ministry of the Attorney General of Ontario, or Minister of
Justice of Ontario with form USM — 94 requesting that service be made by an enforcement
officer of the Ministry of the Attorney General of Ontario upon Flash Freight Systems
5894 Eighth Line Ariss, ON NOB 1B0 Canada

PLEASE ISSUE A CERTIFIED COPY OF PETITION and CITATION addressed to:
Flash Freight Systems 5894 Eighth Line Ariss, ON NOB 1B0 Canada

to Plaintiff's counsel for mailing

AND

State Farm Mutual Automobile Insurance Company
Through The Louisiana Secretary of State

8585 Archives Ave

Baton Rouge LA 70809
